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                                                        September 21, 2021

   The Honorable Ann M. Donnelly
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   RE:    United States v. Robert Kelly
          Criminal Docket No.: 19-286 (AMD)

   Dear Judge Donnelly:

                   The defense respectfully submits this letter to request that the Court add
   additional language to the jury instructions regarding direct and circumstantial evidence.
   Specifically, the defense requests that the Court add language regarding inferences and that
   speculation is not allowed. The defense submits that the additional language is necessary
   based upon certain arguments the Government made regarding Aaliyah and another
   witness’ use of her grandfather’s cell phone. The defense objected to the Government
   stating that Mr. Kelly sought to marry Aaliyah because he wanted to cover up the fact that
   she was pregnant and then wanted to have control over her to force her to have an abortion.
   No one at this trial testified in a manner to support that conclusion. There were other
   instances including a witness’ use of her grandfather’s cell phone for which the inference
   the Government suggested was extreme. For those reasons, the defense respectfully
   requests that the Court submit additional language concerning direct and circumstantial
   evidence and the inferences that can properly be drawn from each type of evidence. The
   defense respectfully submits a portion of the jury charge given by the Honorable Paul A.
   Engelmayer in United States v. Mack¸ et al. 18 Cr. 834 (PAE).

                                                        Respectfully submitted,

                                                                /s/

                                                        Calvin H. Scholar


   CHS/jb

   cc:    All Counsel, by E-MAIL
